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° APPENDIX IV
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Rebuttal to Reports by Opposing

Expert Witnesses

By William A. Dembski

May 14, 2005

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Appendiz 1; Rarbara Forrest’s Letter iu Simon Blackburo ........ 2.2...

Appendix 2: Press Releases in Response te Rebert Pennock ........

Appendix 3: Berlinskt Op-ed — Why Evolution Calls fur Special Attention ......

Appendix 4: “Sell Spinning Just Fine: A Response ta Ken Miller”

Appendix 4: 4Lrreducible Complexity Revisited,” Section 5 0.00... ee vn ie

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1 Introduction

 

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L have carefully read the reports by the six opposing expert witnesses. In this rebuttal, I will
respond to five of the reports, omitting the one by Brian Alters. Alters’s report focuses on
philosophy of education, ihe pedagogical value of teaching intelligent design in the high schoo!
biology cumiculum, and the reception of imteHigent design among educators (especially among
the professional educational associations concemed with science mstraction). Alters*s main
concern is that through the teaching of intelligent design, science teachers will “engender
needless misconceptions” in their students’ understanding of evolutionary biclogy (Alters, p. 3).
Other experts in these matters take exactly the opposile view. Por instance, according to Larry
Arnhart evolutionary theory canoot be properly understood and taught without considering LD as
its foil and counterpart.' Note that Armhart himself is not a proponent of ID.-

Although the pedagogical value of teaching FD is an interesting question, the key question is
whether intelligent design constitutes a scientific program and whether the textbook in question,
OF Pandas and Peapie (2nd ed.}, adequately represents the theory of imtefligent design. Because
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in particular the criticism they raise of Darwinism, remain very much alive and topics for
discussion among biologists.

| want to add one final comment here. Kenneth Miller, on page 18 of his expert witness report,
has a brief section titled “The Origin of Biological Information.” In it he references the Nature
article by Lenski ct al aud claims that it and others like it show that evolutionary mechanisms
can generate biological information. As I stress in chapter 4 af my book No Free Lunch, there ts
a big difference between evolutionary mechanisms shuffling around precsasting biological
information and evolutionary mechanisms actually generating it from scratch, In that chapter |
show that evolutionary mechamsms can do the former but noi the latter. | argue this explicitly,
Miller, on the other hand, merely asserts the opposite view without providing an argument.
Moreover, the papers he cites don’t address my argument either. I’ve since fied im the
mathematical details for chapter 4 of No Free Lunch in a paper titled “Searching Large Spaces:
Displacement and the No Free Lunch Regress,” which is available on my websile

(hitp:/ivww. designinference.com/documents'2005.03 Searching Large Spaces.pdf) and slated
to be published in a special issue on these questions im an IELE biocomputing journal.

3.3 UD’s Big Tent

CLAIM: On page 8 of his expert witness report, Pennock notes that some young earth
creationists consider themselves as part of the ID movement. Pennock then adds that because
such people are in the ID movement, “allowing 1D into the schools thus allows ali these VIEWS
perforce.”

COMMENT: ID is indeed a big tent, and many people of different views and backgrounds have
associated themselves with it, But it hardly follows that the idiosyncratic views of some of II}’s
followets will therefore be mainstreamed and allowed into the schools. Young carth creationism
has been roundly defeated in the courts. in particular, the U.S, Supreme Court in Edwards v.
Aguillard has barred it from the high school science curriculum. There 1s thus ne justification for
thinking that ID can be parlayed into a young earth creationism in the schools. Pennock is here
engaging in a bit of fear-mongering. 1 expect ID’s acceptance imto the high school biology
curriculum will proceed conservatively, preserving as much of “the settled findings of science”
(ag Pennock puts it on p. 8 of his report} as possible and counng into conflict with evolution
mainly on the question of evolutionary mechanisms.

3.4 IBD Proponents Recognize that JD Is Not Science

CLAIM: On pages 12 and 13 of his teport, Peanock purports to show that [D proponents
ackaowledge that 1D is not science.

COMMENT: Given methodological materialism as a regulative principle for science, ID is by
definition excluded from science, ID proponents regard methodological materialism as an
arbitrary rule imposed on science and therefore propose to gel nd of it (see the section on
incthodological materialism in my rebuttal to Forrest), Jn so doing, they are changing the ground

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qles of science. But this is nothing new. ln the history of science, the ground rules of science
have changed at several key juociures in the past (notably, the change from an Anstotehan
conception of science to a mechanistic conception of science im the 17th century}. ID proponents
tiost emphatically claim to be doing science. At the same time, we refyse to do science under
atbitrary strictures that privilege a materialistic ideology fmethudological materialism) which
cannot itself be empirically tested or assessed scientifically. (There is no experiment that can test
methodological materialism.)

3.5 No Positive Evidence for Design

CLAIM: & running theme in Ponnock’s expert witness report, and which vets special attention
on pages 16 to 19 of it, is that ID does not present positive evidence for desigm in nature but
instead argues negatively against the adequacy of material causes.

COMMENT: Invoking the words “positive” and (implicitly) “negative” the way Pennock does
plays on the connotations of these words but doesn’t address the substance of 1D's claims or Lor
that matter I’s research potentist. Consider the first and second Jaws of thermodynamics (and
please note, | am not invoking these to justify [D or undercut evolution — I°m simply appealing
to them by analogy). The first law says that im an isolated system energy remains constant
{conservation of energy}. The second liw says that in an isolated system cotropy is statistically
bound tu increase.

Both of these laws are what may be called ‘proscriptive generalizations.” In other words, they
preclude certain things irom happening. Thus, the first law of thonpodynamics precludes cnerey
in an isolated system from fluctuating atd the second Jaw of thermodynamics precludes entropy
from decreasing. By parity of reasoning, Pennock might iberefore. argue that those who propose
these laws are not demonstrating anything positive about energy and entropy. But in fact, these
proscriptive generalizations have been enormously useful and fruitful in the sciences, 50 too, for
ID to gauge the unevolvability of biological systems and to establish the need for intelligence to
bring about such systems may well turn out to be a catalyst of scientific research whose
significance might even end up being comparable to that of the laws of thermodynamics. Time
will tell.

3.6 No Way to Assess Probabilities

CLAIM: Pennock claims that complex specified information as 1 develop it ts scientifically
intractable. As Pennock puts it, “there is no way io assess the probability in any real ological
case.” (Pennock, p.!9)

COMMENT: Pennock is in no posivion to make this claim. Probabilities can be assigned any
purnber of ways. They can be empirical probabilities (probabilities based on past frequencies).
The probability of coms landing in certain ways can also be assessed on the bisis of ihe
geometry of the coin. Addiuonally, probabilities can be assessed on the basis of the laws of
physies and chemistry that govern the system (ct. quamium systems with cera probabilities

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